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Case 1: 04- -cr r-00127- RCT Document 120 Filed 01/03/05 Page 1 of 12

Wesley W. I-ont, ISB #4590 , `

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meskian 33539 _ '
reh (208)925-7553
Fax: (208}926“7554

       

Attorney for Defendant
UNITED STATES DISTR.ICT COU`RT
FOR THE DISTRICT OF IDAHO
UNITBD STATBS OF AMERICA, ) Case No.: CR-G~'-l-OlZ?-C`RCT
)
Plaintiff, )
vs. ) MOTION FOR DISCOVERY
) RELATED TO DEFENDANT’S ALLEGED
DAVID R. I-IINKSON, ) STATEMENTS TO CHAD CRONER
) AND DISCOVERY OF TI-IE FULL,
Defendant ) UNR]`:`.DACT`ED FBI 302 FOR
) ATTORNEY BRl'l` GROOM

COMES NOW defendant David R. Hinkson, by and through his attorney, Wesley W_
I-ont, and pursuant to Fed. R. Crirn. P., Rule 12(b)(3)(E), Ru.le 16 and Rule 262 moves this
Court for an order directing the government to produce the followingr items, in aid of defendant’s
companion motion, filed contemporaneously herewithg seeking suppression of statements
allegedly made by defendant to Chad Croner on or after November 22, 2004.
l. Said motion for discovery is made on the grounds that such information is properly
discoverable by defendant and has been requested by defendant (see attached Exhibit A, defense
oouasel’s letter of Deoember 26, 2004) and the production of Whieh has been denied by the
government (see attached Exhi`oi’t B, AUSA Sullivan’s letter of Deoember 27, 2004 and response
to discovery request, see attached Exhibit C_, AUSA Sullivan’s letter of Becernber 30, 2094].
2. Defendant submits that if lie is denied production of the items requested herein, he cannot
effectively defend himself against the new claims by the government that he made admissions to

Chad Croner as to existing Counts in the Supersoding lndiotment nor as to the new claims of

MO’I‘ION FOR DlSCOVERY RELATED TO DBFENDANT'S ALLBGED STATEMENTS TO
CHAD CRONEB AND THE FULL UNREDACTED FBI 302 FOR AT`TORNEV BRIT GROOM PAGE 1 OF 6

 

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solicitation for the murder of three U.S. officials not mentioned previously

3, Defendant also seeks a copy of the full, unredacted version of the FBI 302 written by
Agent Williazn Long concerning his interview with Brit Groom, former attorney for defendant a
copy of the undersigned counsel‘s letter requesting same dated Deccrnber 29, 2004 is attached
hereto as Exhibit D and the Brit Groorn FBI 302 of March 15, 2004 as produced by the
government is attached hereto Exhibit E and AUSA Sullivan’s cover letter of December 20,
2004, transmitting a copy of the redacted version of said FBI 302 for Brit Groom is attached as
Exhibitf".

4. 'I`he basis for defendant’s assertion that he cannot effectively defend himself is etclted in
the fundamental rights to effective assistance of counsel and the right of confrontation of
witnesses against him as those rights are found in Fifth and Sixtii Amendment to the U.S_
Constitution. Defendant seeks an order directing the government to produce the following items
(as used below, the reference to “Chad Croner and/or David R. I-iinl<son” refers to all alleged
communication between them or any information Chad Croner claims to have obtained front
David R. Hinkson and references to “Brit Groom and/or David R. Hinltson"" refers to all alleged
communications betweenlt.liem or any information Brit Groom claims to have obtained from
David R. I-linl<son):

A. A copy of all written communication between each and every agency of the U.S.
government and Judge Richai'd C. Tallman regarding Chad Croner and/or David R.
Hinkson;

B. A copy of all handwritten notes, or notes in any other form, of communications by each
representative of every agency of the U.S. goverxunent concerning communications with

lodge Richard C`. Tallman regarding Chad Croner and/or David R. Hinkson;

C. A copy of all written communications between attorney Joim Meienhofer and AUSA
Wendy Olson regarding Chad Ci‘oner and/or David R. idinl<son;;

MOTlON FOR DlSCOVERY RELATED TO DEFENDANT’S AI.LEGED STATEMENTS TO
CHAD CRGNER AND THE FULL UNR.EDACTED FBl 302 FOR ATTORNEY BRIT GROOM PAGE 2 OF 6

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D. A copy of all written communications between AUSA Wendy Olson and any other
person in the U.S. government concerning her communications with attorney .`lohn
Meienhofer regarding Chad Croner and/or David R. i-linkson;

E. A copy of all handwritten notes, or notes in any other fonn, by AUSA Wendy Olsou
concerning her communications with any person regarding Chad Croner and/or David R.
I-Iinl<son;

`,E`. A' copy of ali written communications between each and every representative of the U.S.
Attorney’s Oftice and the FBI regarding Chad Croner and/or David R. Hinl<son;

G. A copy of all handwritten notes, or notes in any other foran by every person in the U.S.
Attorney’s Oflice concerning communications with any person at the FBI regarding Chad
Croner andfor David R. Hini<son;

H, A copy of all handwritten notes, or notes in any other fonn, by every person in the Oft`tce
of the FBI and any other party regarding Chad Croner and/or David R. l-Iinkson;

l. A copy of all written communications between FBI Special Agent William Long and!or
any person in the U.S. Attorney’s Ot`ticc regarding Chad Croner and/or David R.
Hinlcson;

J. A copy of ali handwritten notes, or notes in any other form, by FBI Special Agent
`William Long concerning communications with any person regarding Chad Croner
and/or David R. Hin.kson.;

K. A copy of all written communications between FBl Spccial Agent Williarn Long and/or
.David A. Meyer, and/or any other person in the U.S. l\)larshal’s Ot`l'lce regarding Chad
Cron.er and/or David R. }-Iinl<son;

L. A. copy of all handwritten notes, or notes in any other forni, by David A. Meycr and/or
any other person in the U.S. i\/larshal`s Ofi'ice regarding Chad Croner and/or David R.
Hinlcson;

M. A copy of ali correspondence between counsel for Chad Croner and the agencies of the
United States including the 'U.S. Attorney’s Ofiice, Probation Department, FBI or any
other agency whatsoever;

N. All written reports of communications between Chad Croner and each and every
representative of the United States;

O. Ali written reports concerning communications between Chad Croner and David R.
I-linkson;

P. All written reports concerning information obtained by Chad Croner from David R.

` Hinitson;

MOT¥ON FOR DTSCOVERY R.ELATED TO DEFENDANT’S ALLE.GED STATEMENTS TO
CHAD CRONER AND THE. FULL UNR.EDACTED FBI 303 FOR A'l"i`ORNEY BRTT GROOM PAGE 3 OF 6

 

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Q, Ail handwritten notes, or notes in any other forrn, of FBI Specia.l Agent William Long
concerning discussions and/or debriefing sessions between Chad Croner and FBI Speciai
Agcnt Williarn l`_.ong;

R. All handwritten notes, or notes in any other ‘i"onn, AUSA l\/Iichael P. Sullivan and/or any
other member of the U.S. Attorney’s Of'fice concerning discussions and/or debriefing
sessions involving Chad Croner in which AUSA Michael P, Sullivan and/or any other
member of the U.S. Attorney’s Otiice participated;

S. A complete copy ot` the current Chad Croner’s full criminal history with record of all
arrests and convictions (dei`endant notes that AUSA Sullivan ptoduced, as an attachment
to his letter of Decernbcr 30, 2004, attached hereto, a copy of Chad Patricl< Croner’s
NCIC with inquiry date of Decembcr 2?, 2004, which makes no mention of his Idaho
state charges and conviction of allegedly related to fraud for which he was Supposedly
serving an 18 month sentence commencing on Novernber lO, 2004, that was allegedly
reduced to 7 days on Novernber 17, 2004 by the Idaho State Court. Nor is there any
mention in said NCIC of Croner’s arrest and/or conviction for either the willnll failure to
hle tax returns or bankruptcy frand, claims made by the government in the paperwork
initiain produced by the government along with AUSA’s letter of Decernber 22_, 2004
and the purported Cooperation Agrecment. Nor does the NCIC report show Croner’s
present states and placement as prisoner in a federal penitentiary serving a 21 month
sentence subject to a six month reduction as alleged in the purported Cooperation
Agreeinent. Thercfore, demand is herewith made for a copy of the NCJ.C report that
shows Chad Croner"s recent ldaho State Conrt conviction(s), the Federal District Court of
Idaho convictions, and his present housing status in a federal prison pursuant to a court
order.

T. A complete copy of each and every pre-sentence report for Chad Croner relative to his
offenses against the United States;

U. Transcripts of all sentencing hearings wherein a plea was discussed and/or taken from
Chad Croner (it` not transcribed provide the date, time and courtroom of each such
sentencing hearing and the name of the court reporter attending such hearing(s));

V. 'l`he name of each person and the name of the agency by Whorn each such person is
ernplo~j,recl_1 who has served or worked as a ‘bandler’ and/or ‘governrnent contact’ t`or
informant Cliad Croner at any time regarding the present case and all other cases, and
provide, with respect to each such person, all rcports_, statements, deciarations, notes of
conversations or any other written information what-so-ever concerning cases about
which he has informed the U.S. government or any state or local government

W. Provide a copy of ail recordings ot` every communication from David R. i-Iinl<son that
was recorded by Chad Croner and all transcripts thereof;

X. Explain each and every reason for the delay by the U.S. Attorney’s Office in surrendering
information regarding Chad Croner’s and David R. l-lin.l<son until Decernber 22, 2004,

MOTION FOR DlSCOVERY R_ELATED TO DEFENDANT'S ALLEG`ED STA’i`EMENTS ’I`O
CHAD CRONER AN`D THE FULL UN`_REDACTED FBI 302 FOR ATTORNEY BRlT GROOM PAGE 4 OF 6

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when said information was purportedly known to the prosecution as early as Novernber
22, 2004;

Y. With regard to the prior acts of Chad Croner as a government informant state: the name
and, if applicable, the case number of each person about whom Chad Croner has provided
infonnation to the U.S. government and the date, time and place of each alieged crime
about which Chad Croner has provided information to the government in the past prior to
the prosecutionl

Z. The government has provided on said NCIC report as Chad Croner’s date of birth
Decembei‘ 16, 1973, and his social security number as 519~92-5159 but has failed to
provide the names of hospitals and doctors from whom he has received treatment in the
last 10 years, which are needed to obtain the information necessary to impeach Crcner.

AA. The government has agreed to tile a motion to unseal the government’s §Sl<l.l
motion in Chad Croner`s case and to unseal the PSIR pertaining to Croner and .A_USA
Sullivan has stated that he will provide defendant with a copy of the §Sltl.l motion and
any “favorable-type" information that may be contained in the PSIR- (See attached
Exhibit C, AUSA.’s letter of Decentber 30, 2004.) Defendant seeks the right to review
the entire PSIR for Croner, based on the high probability that AUSA Sullivan or his
assistants may not see or understand which information is exculpatory or would lead to
the discovery ol" exculpatory evidence for defendant, or may not see or recognize
information that would lead to impeachment of Croner end only defendant’s counsel can
make such determination consistent with defendant’s right to effective representation of
counsel; to otherwise deny defendants counsel the opportunity to review the entire PSIR
for Crooer would be an effective denial cf defendant’s Fifth and Sixth Amendrnent right
to effective assistance of counsel and the right to confront defendants accusers.

BB. The government has produced an FBl 302 Report of interview by Agent Long
concerning an interview with defendants former attorney, Brit Groom of Maroh 15,
2004. Said 302 Report has substantiai amounts of text redacted and blocked out with
magic market so that it is unreadable. Det`endant objects to the cavalier manner in which
the government, through its Agent Wiiliarn Long has surreptitiously approached attorney
Groorn and obtained statements from him without the benet`rt of counsel for defendant
being present Notwithstanding 500 years of the Anglo»American legal tradition and
substantial issues of attorney-client privilege which weigh in the balance, the government
has a duty to disclose all information obtained from attorney Groorn, including the full
end complete unredacted text of said 302 Report, plus all co).'responc:lence_1 notes, writings
and other documents related to any communications between Agent Long and Attorney
Grcom, which defendant now demands be produced

. . jar
Respecttiilly submitted this m day of lanuaty, 2005.

 

MOTION FOR DISCOVERY R.ELATED TO DEFBNDANT`S ALLBGED STATEME`NTS TO
CHAD CRONER AND 'I`HE FULL UNREDACTED F‘Bl 302 FOR ATTOR.NEY BRIT GROOM PAGE 5 OF 5

 

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ase 1: OZF-C -30-127 RCT F11)(_)cument 120 Filed 01/03/05 Page 6 of 12

CERTIFICATE OF SERVICE

I certify that, on this l day of Janum'y, 2005 I have served a true and correct copy of the
forgoing MOTION FOR DISCOVERY RELATED 'I`O DBFENDA`NT’S ALLEGEB
STATEMEN'I`S TG CHAD CRONER AND THE FULL UNREDACTED FBX 302 FOR
ATTORNEY BRIT GROOM upon the persons named below by the method so indicated:

Miohael P. Sulliva.n (__) U. S. Mail, 151 class postage paid
Michael D. Taxay (__)U U..S Certi'fied mail, postage paid
United Sates Department of Justice (_) Federal Express
950 Penn. Ave., NW Hand D@liv€ry
Washingmn’ DC 20530 Faosimile: 202 514-8714
(_)U
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(._)
C_)

S.Mai1 ]St class postage paid
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Federal Express
Ha.nd Delwery
()Q) Facsimile: 206- 553- 6306

§§§S§ §§§§§§

The Hon. Richard ’1`3111‘111111
Un_ited States Courthouse
1200 6ga Avonue

215t Flooz'

Seatt}e, WA 98101

 

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MO`TION FDR DISCOVBRY RELATED '1"0 DEFENDANT‘S ALLEGED STATE‘.MENTS TO
CHAD CRONER AND THE F'ULL UNREDACTED FBI 302 POR ATTORNEY BR}T GROO`M PAGE 6 OF 6

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ENoanooD. Co:.on.»too 801 10 TeLErHoNc (203} 926-7553
TELEPHONE (3{]3) BUE-SBS? 1139 TBLEPHONE (ZOE} 983-0212

FAcsan.e (303)306~3881

 

Decernber 26, 2004

Mr. Michaei P. Sullivan

U. S. Departrnent of Justice Fax: 202=514~4940
Connterterrorism Seotion

10“‘ a constitution Ave, NW

Washington, DC 20530

Re: Um`ied Stat’es' vs. Davz'd R. Hinks‘an
Case Nv. CR»M-»l£?
Irlfarmant Cfma' Crone?

Dear Mr. Snllivan:

Thank you for the letter of Decernber 22, 2004 and the attached partial fulfillment of your
Brady/Giglio obligation to disclose information regarding informant Chad Croner. E‘ven though
l have sent you my Boise contract information during the trial commencing tomorrow, Monday,
December 27, 2004, l reiterate the same here for your convenience and to request that any
additional disclosures will be taxed to me as indicated below. Note, l will continue to be
available on my cell phone at 303~819-?400. My Boise contact information is as follows:

Wesiey W. I-ont, Attorney

Exiended Stay America Fax: 208-363-9039
2500 Sonth Vista Ave.

Boise, l'daho 33705

Demand is herewith made for the immediate production of the following items relative to
government informant Chad Croner and the information the govennnent claims was obtained
form David R. I-Iinkson during the time that informant Croner was jailed with Mr. Hinl<son in
Novernber and Docetnber, 2004 (as used below, the reference to “Chad Ctoner and/or David R.
Hinkson” refers to all alleged communication between them or any information Chad Croner
claims to have obtained from David R. Hinl{son):

 

 

 

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Mr. l\/fichael P. Sullivan
December 26, 2004
Page 2 of4

 

i. A copy of all written communication between each and every agency of the U.S.
government and lodge Richard C. Tallrnan regarding Chad Croner and/or David R.
Hinkson;

2. A copy of ali handwritten notes, or notes in any other forrn, of communications by each
representative of every agency of the U.S. government concerning communications with
Judge Richard C. Tallman regarding Chad Croner and/or David R. Hinlcson;

3. A copy of all written communications between attorney John Meienhofer and AUSA
Wendy Olson regarding Chad Croner and/or David R.. I-Iini<son;;

4. A copy of all written communications between AUSA Wendy Olson and any other
person in the U.S. government concerning her communications With attorney John
Meienhofer regarding Chad Croner and/or David R. Hinkson;

5. A copy of all handwritten notes, or notes in any other form, by AUSA Wendy Olson
concerning her commtuiications with any person regarding Chad Croner and/or David R.

Hinl<son;

6. A copy of all written communications between each and every representative of the U,S.
Attomey’s Ofi'ice and the FBl regarding Cliad Croner and/or David R. Hinl<son;

7. A copy of all handwritten notes, or notes in any other form, by every person in the U.S.
Attorney’s Oft`ice concerning communications with any person at the FBl regarding Chad
Croner and/or David R. Hinl<son;

8. A copy of all handwritten notes, or notes in any other form, by every person in the Offrce
of the FBI and any other party regarding Chad Croner and/or David R,. Hinkson;

9. A copy of all written communications between FBI Special Agent Williarn Long and/or
any person in the U.S. Attorney’s Office regarding Chad Croner and/or David R.
l-iinl<son;

10. A copy of all handwritten notes, or notes in any other fonn, by FBI Special Agent
Williarn Long concerning communications with any person regarding C.had Croner
and/or David R. Hinl<son;

ll. A copy of all written communications between FBI Special Agent Willirun Long and/or
David A. Meyer, and/or any other person in the U.S. Marshal’s Oftice regarding Chad
Croner and/or David R. Hinkson;

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Mr. Michael P. Snllivan
Decem‘oer 26, 2004
Page 3 of 4

 

12. A copy of all handwritten notes, or notes in any other form, by David A. Meyer and/or
any other person in the U.S. Marshal’s Oftice regarding Chad Croner and/or David R.
Hinl<son;

13. A copy of all correspondence between counsel for Chad Croner and the agencies of the
Uniteci States including the U.S. Attorney’s Oflice, Probstion Departrnent, FBI or any
other agency whatsoever;

14. All written reports ot` communications between Chad Croner and each and every
representative of the United States;

15. All written reports concerning communications between Chacl Croner and David R.
Hinkson;

16. Ali written reports concerning information obtained by Chad Croner t`rorn David R.
Hinlcson;

1'7. All handwritten notes, or notes in any other forrn, of FBI Special Agent Williarn Long
_ consenting discussions and/or debriefing sessions between Chad Croner and FBI Special
Agent Williarn Long;

18, All handwritten notes, or notes in any other fortn, AUSA Michael P. Suilivan and/or any
other member of the U.S. Attorney’s Ot`iice concerning discussions andjor debriefing
sessions involving Chad Croner in which AUSA Michael P. Suilivan and/or any other
member of the U.S. Attorney’s Oft`rce participated;

19. A complete copy of Chad Croncr’s full criminal history with record of all arrests and
convictions;

20. A complete copy of each and every pre-sentence report for Chad Croner relative to his
oi`enses against the United States;

21. Transcripts of all sentencing hearings wherein a piea was discussed and/or taken from
Chad Croner (if not transcribed, provide the date, time and courtroom of each such
sentencing hearing and the name of the court reporter attending such hearing(s));

22. The name ot` each person and the name of the agency by whom each such person is
employed, who has served or worked as a ‘handler"' and/or ‘governrnent contact’ for
informant Chad Croner at any time regarding the present case and all other cases, and
provide, with respect to each such person, all reports, statements, declarations notes of

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Mr. Michael P- Snllivan
Decernber 26, 2004
.Page 4 of 4

conversations or any other written information what-so-ever concerning cases about
which he has informed the U.Si government or any state or locai government

23. Provide a copy of all recordings of every communication from David R. Hinkson that
was recorded by Chad Croner and ali transcripts thereof;

24. Expiain each and every reason for the delay by the U.S. Attorney’s Ofiice in surrendering
information regarding Chad Croner’s and David R, Hinkson until Decernber 22, 2004,
when said information was purportediy known to the prosecution as early as Noveznber
22, 2004;

25\ With regard to the prior acts of Chad Croner as a government informant state: the name
and, if applicable, the case number of each person about whom C]:lad Croner has provided
information to the U.S. government and the date, time and place of each alleged crime
about Which Chad Croner has provided information to the government in the past prior to
die prosecution

26. Provide Chad Croner’s date of birth, social security number and the names of hospitals
and doctors from whom he has received treatment in tile last 10 years.

The above information is needed on or before tire close of business Monday, Decernber

27, 2004 in order to have sufficient time to complete an investigation regarding Mr. Croner and
be prepared for the up corning trial oer. I-Iini<son set for January 10, 2004.

Very truly yours,

Wesley W. I-ont

WWH:sjh
ccc client

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Caunrerrarrorr‘.rm S'ecn‘on Wa.rhing!on, D.C 20530

Decernber 27, 2004

Wesley W. Hoyt
Extended Stay Amezica
2500 Soutli Vista Avc.
Boise, Idaho 83705

RE: David Hinicscn
Dear Mr. Hoyt,

Iwrite in response to your letter ofi)ec. 26, 2004, regarding government witness Cl:\.ad
Croner. Your letter requests the production cf numerous items dant the government does not
believe yca are entitled to, under any discovery rule, with these exceptions Tlie government will
search for, and provide to you a criminal history of Croner. Also, the government will seek an
order from lodge Edward Lcdge to deliver to you any Bradiniglio material contained in
Croner’s PSI Report. A_lso, the government will provide to you a copy of any Ruie 35 motion
filed by the government on his behalfl Lastly, l advise you that Croner did not electronically
record any statements by I-linliscn, so there are no tapes or transcripts thereof

l_fyon have any questions regarding the above, feel free to call me at 202!353-3125.

Sincerely yours,

Michael *. ollivan
Assistant U.S. At,torney

 
 
 

    
  
    

 

  
    

- BEFENDANTS
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Crirninal Division

 

 

 

 

Ca sumner-raner .S'acrlan Vashing!cn, Dl C.'. 20530

Decernber 30, 2004

Wesley W. Hoyt, Esq-
Extended Stay Arnerica
2500 Soutli Vista Ave.
Boise, Idal'io 33705

Dear `Mr. Hoyt,

Pursuant to the govemrnent’s Brady/Gi‘g[io obligationa please lind enclosed an NCIC
printout on win-less Chaci Croner. The government also intends to file a motion with J'udge
hodge to permit die unsealing of the governments §Skl .l motion filed on behalf of Croner prior
to his sentencing and also to unseal the PS£R pertaining to Croner. ’I`lie government will
thereafter provide you with the motion and any favorable-type information that may be contained
in the PSBR..

Sincerely yours,

 
  

 

  

Micliael Sullivan

Assistant U.S. Attorney

 

